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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP,

                                         Plaintiff,

 v.                                                     Civil Action No. 1:19-cv-2173-TNM

 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES; LETITIA JAMES, in
 her official capacity as Attorney General of
 New York State; and MICHAEL R.
 SCHMIDT, in his official capacity as
 Commissioner of the New York State
 Department of Taxation and Finance,

                                     Defendants.

      EMERGENCY APPLICATION FOR RELIEF UNDER THE ALL WRITS ACT
       Plaintiff Donald J. Trump asks this Court to enjoin Defendant Committee on Ways and

Means’s Chairman, Representative Richard Neal, from requesting or receiving Plaintiff’s state tax

returns from New York until Plaintiff obtains an opportunity for judicial review. The President is

in an intolerable situation: If he seeks relief after the Committee’s Chairman requests his state tax

returns, the returns might be disclosed before he can be heard in court. At the same time, immediate

judicial review could force the Court to prematurely decide constitutional issues that might

otherwise be avoided. The All Writs Act affords the Court discretion to fashion equitable relief

“necessary to preserve the availability of meaningful judicial review.” Astrazeneca

Pharmaceuticals LP v. Burwell, 197 F. Supp. 3d 53, 56 (D.D.C. 2016). The Court should exercise

that discretion here.

       In accordance with LCvR 7(m), Plaintiff’s counsel contacted counsel for the Committee

and the New York Defendants about this emergency application for relief. The Committee opposes

the application; the New York Defendants take no position.
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 Dated: July 24, 2019                             Respectfully submitted,

                                                    s/ William S. Consovoy        T

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                                                  Counsel for President Donald J. Trump




                                 CERTIFICATE OF SERVICE
       I certify that I emailed a copy of this application, its exhibits, and all pleadings to date in

this case to counsel for the Committee on Ways and Means, Douglas.Letter@mail.house.gov, and

counsel for the New York defendants, Andrew.Amer@ag.ny.gov.

                                                       /s/ William S. Consovoy
                                                      Counsel for President Donald J. Trump
                                                      Dated: July 24, 2019
